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                                                                                                                    Stephen D. Brody
    April 30, 2024                                                                                                  D: +1 202 383 5167
                                                                                                                    sbrody@omm.com
    VIA EFILING

    The Honorable John C. Porto, P.J. Civ.
    Atlantic County Civil Courts Building
    1201 Bacharach Blvd., Fl. 3
    Atlantic City, New Jersey 08401

    The Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street
    Trenton, NJ 08608

    Re:      In re: Johnson & Johnson Talc-Based Powder Prods. Litig., Docket No. ATL-L-
             02648-15, MCL No. 300; MDL Case No. 2738

    Dear Judge Porto and Judge Singh:

    I write on behalf of Johnson & Johnson and LLT Management LLC (“J&J”) in connection with
    J&J’s pending motion to disqualify Beasley Allen and Andy Birchfield, Esq. in the above-
    referenced matter.

    On April 23, 2024, Beasley Allen submitted a letter to the Court requesting that the entirety of a
    November 5, 2023 email from Mr. Conlan to Mr. Murdica be admitted into the record as evidence.

    On April 22, J&J informed Beasley Allen that it does not object to the submission of the letter into
    the record, subject to two minor redactions to protect against the disclosure of privileged
    information (Redacted Ex. B). J&J offered to meet with Beasley Allen’s counsel to discuss the
    proposed redactions in an attempt to resolve this issue without the Court’s intervention, but
    Beasley Allen proceeded to file the April 23 letter without further discussion.1

    We think it is important to note that the only two redactions proposed by J&J appear in the body
    of Mr. Conlan’s email. The redactions at the top of the page were made by Beasley Allen before
    the proposed exhibit was shared with us, and we have not seen what was removed (although it
    appears it is likely information about how and when Mr. Conlan sent the response to counsel for

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      Beasley Allen filed another letter with the Court today, April 30, 2024, which inexplicably indicates that
    “[a]t the Courts’ direction we attempted to resolve this with opposing counsel, but to date they have not
    consented to that [unredacted] exhibit’s admission.” Counsel for Beasley Allen has not reached out to us
    to discuss this issue since filing its original, April 23 letter with the Court.



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    Beasley Allen, notwithstanding the fact that it contains information J&J considers to be privileged,
    Mr. Conlan never sought permission to disclose J&J’s privileged information to Beasley Allen, and
    J&J never consented to any disclosure).

    In any event, we believe that Beasley Allen misconstrues the scope of the Court’s ruling on J&J’s
    privilege objection at the April 10, 2024 plenary hearing. The Court did not conclude that J&J
    waived privilege over the entirety of Mr. Conlan’s November 5, 2023 email. Rather, the Court
    found that J&J waived privilege as to one specific piece of information: whether the decision to
    file the first LTL bankruptcy was Mr. Conlan’s “own strategy[.]” 4/10/24 Tr. 189:2-191:2. The
    Court found this limited waiver because J&J referenced Mr. Conlan “disparaging [his] own
    strategies” in a letter from Mr. Murdica to Mr. Conlan that had already been submitted in the
    record. See id. at 190:23-191:2. The modest redactions proposed by J&J were intended to avoid
    interfering with the Court’s ruling on that narrow issue.

    We therefore request that only the version containing J&J’s redactions be made part of the
    evidentiary record.

    Respectfully,




    Stephen D. Brody

    cc:    Jeffrey M. Pollock, Esquire
           Michelle A. Parfitt, Esquire
           Leigh O’Dell, Esquire
           Susan M. Sharko, Esquire




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